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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

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                                   6     MICHELLE CHARMAINE LAWSON,                         CASE NO. 18-cv-07238-YGR
                                   7                   Plaintiff,
                                                                                            ORDER VACATING HEARING ON ORDER TO
                                   8             vs.                                        SHOW CAUSE
                                   9     CITY OF ARCATA, ET AL.,                            Re: Dkt. Nos. 10, 12
                                  10                   Defendants.

                                  11

                                  12   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD,
Northern District of California
 United States District Court




                                  13          The Court has reviewed the summons issued as to defendants dated March 13, 2019. (Dkt.

                                  14   No. 12.) The Court notes that the “Proof of Service” portion form filed on the docket is blank and

                                  15   therefore does not provide any indication as to whether plaintiff properly served defendants. (See

                                  16   id.) However, in light of defendants’ filing of a motion to dismiss on March 20, 2019 (Dkt. No.

                                  17   13), it appears defendants have received service of the amended complaint. Accordingly, the

                                  18   Court DISCHARGES the Order and VACATES the hearing scheduled for Friday, March 22, 2019.

                                  19   No further action will be taken with respect to that Order, however the Court reminds plaintiff’s

                                  20   counsel of their obligation of follow all Federal Rules of Civil Procedure as well as this Court’s
                                       Local Rules and Standing Orders.
                                  21
                                              IT IS SO ORDERED.
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                                       Dated: March 21, 2019
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                                                                                                YVONNE GONZALEZ ROGERS
                                  25                                                       UNITED STATES DISTRICT COURT JUDGE

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